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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

   UNITED STATES OF AMERICA

   v.                                 Case No.: 8:19-cr-487-VMC-AAS

   GREGORIO CASTRO

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                                   ORDER

         This cause comes before the Court pursuant to Defendant

   Gregorio Castro’s pro se Motion for Compassionate Release

   (Doc. # 158), filed on September 2, 2021. The United States

   responded on September 13, 2021. (Doc. # 160). For the reasons

   set forth below, the Motion is denied.

    I.   Background

         In June 2020, the Court sentenced Castro to 120 months’

   imprisonment after he pled guilty to conspiracy to distribute

   and possess with intent to distribute five kilograms or more

   of cocaine while on board a vessel subject to the jurisdiction

   of the United States. (Doc. # 155). Castro is 58 years old

   and is projected to be released from McRae Correctional

   Institution in April 2028. 1




   1 This information was obtained using the Bureau of Prisons’
   online inmate locator. See https://www.bop.gov/inmateloc/.


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         In the Motion, Castro seeks compassionate release from

   prison under 18 U.S.C. § 3582(c)(1)(A)(i), as amended by the

   First Step Act, because of his medical conditions, which

   include          diabetes,         hyperlipidemia,           hypertension,

   hypothyroidism, and vision problems including cataracts and

   glaucoma. (Doc. # 158 at 2-3). Prior to filing the instant

   Motion, Castro made a request on July 19, 2021 to the Bureau

   of Prisons (“BOP”) for compassionate release. (Doc. # 158-

   3). The case management coordinator at McRae denied the

   request   on     July   22,   2021.   (Id.).     The   United   States     has

   responded (Doc. # 160), and the Motion is now ripe for review.

   II.   Discussion

         The United States argues that Castro has not identified

   “extraordinary      and    compelling       circumstances”      that    would

   justify granting the instant Motion. (Doc. # 160 at 2-7). The

   Court agrees.

         A term of imprisonment may be modified only in limited

   circumstances. 18 U.S.C. § 3582(c). In the Motion, Castro

   argues    that    his   sentence      may   be   reduced   under       Section

   3582(c)(1)(A)(i), which states:

         the court, upon motion of the Director of the Bureau
         of Prisons [(BOP)], or upon motion of the defendant
         after the defendant has fully exhausted all
         administrative rights to appeal a failure of the
         Bureau of Prisons to bring a motion on the


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         defendant’s behalf or the lapse of 30 days from the
         receipt of such a request by the warden of the
         defendant’s facility, whichever is earlier, may
         reduce the term of imprisonment . . . after
         considering the factors set forth in section
         3553(a) to the extent they are applicable, if it
         finds that [ ] extraordinary and compelling reasons
         warrant such a reduction . . . and that such a
         reduction is consistent with the applicable policy
         statements issued by the Sentencing Commission.

   18 U.S.C. § 3582(c)(1)(A)(i). “The First Step Act of 2018

   expands the criteria for compassionate release and gives

   defendants the opportunity to appeal the [BOP’s] denial of

   compassionate release.”       United States v. Estrada Elias, No.

   6:06-096-DCR, 2019 WL 2193856, at *2 (E.D. Ky. May 21, 2019)

   (citation    omitted).      “However,    it   does    not   alter   the

   requirement that prisoners must first exhaust administrative

   remedies before seeking judicial relief.” Id.

         Here, the United States appears to concede that Castro

   exhausted his administrative remedies. (Doc. # 160). Even

   assuming    that   Castro    has   exhausted    his    administrative

   remedies, the Motion is denied because he has not demonstrated

   that his circumstances are extraordinary and compelling so as

   to warrant release.

         The Sentencing Commission has set forth the following

   exhaustive qualifying “extraordinary and compelling reasons”

   for   compassionate    release:    (1)   terminal     illness;   (2)   a



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   serious medical condition that substantially diminishes the

   ability of the defendant to provide self-care in prison; or

   (3) the death of the caregiver of the defendant’s minor

   children. USSG § 1B1.13, comment. (n.1); see also United

   States v. Bryant, 996 F.3d 1243, 1248 (11th Cir. 2021) (“In

   short, 1B1.13 is an applicable policy statement for all

   Section 3582(c)(1)(A) motions, and Application Note 1(D) does

   not grant discretion to courts to develop ‘other reasons’

   that might justify a reduction in a defendant’s sentence.”).

   Castro bears the burden of establishing that compassionate

   release is warranted. See United States v. Heromin, No. 8:11-

   cr-550-VMC-SPF, 2019 WL 2411311, at *2 (M.D. Fla. June 7,

   2019)    (“Heromin     bears     the    burden   of   establishing    that

   compassionate release is warranted.”).

          First, the Court agrees with the Third Circuit that “the

   mere existence of COVID-19 in society and the possibility

   that    it   may   spread   to   a     particular   prison   alone   cannot

   independently       justify      compassionate      release,   especially

   considering [the Bureau of Prisons’ (BOP)] statutory role,

   and its extensive and professional efforts to curtail the

   virus’s spread.” United States v. Raia, 954 F.3d 594, 597 (3d

   Cir. 2020). And, as the United States points out, Castro has




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   been vaccinated and is housed in a facility with a low

   infection rate. (Doc. # 160 at 2 n.1, 5).

         Here, Castro cites to a number of underlying medical

   conditions,      which      include           diabetes,     hyperlipidemia,

   hypertension, hypothyroidism, and vision problems. (Doc. #

   158 at 2-3). However, Castro has not demonstrated that these

   conditions are serious such that they substantially diminish

   his ability to provide self-care in prison. See USSG § 1B1.13,

   comment. (n.1); see also United States v. Rodriguez-Campana,

   No. 18-CR-60250, 2021 WL 602607, at *4-5 (S.D. Fla. Feb. 16,

   2021) (denying motion for compassionate release filed by

   inmate   who   suffered    from    hypertension,          high   cholesterol,

   prediabetes, and had a history of lung problems, where inmate

   had failed to demonstrate that “any of his present ailments

   are terminal, that they substantially diminish his ability to

   provide self-care within the correctional facility, or that

   they are not being properly attended to by the BOP.”). Nor do

   these    conditions      constitute       a    terminal     illness.    Thus,

   Castro’s medical conditions do not warrant release.

         Finally, the 18 U.S.C. § 3553(a) factors do not support

   compassionate     release.        Section        3553(a)     requires     the

   imposition of a sentence that protects the public and reflects

   the seriousness of his crime. The Court notes that Castro


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   pled guilty to a serious drug offense and, moreover, has

   served less than half of his prison sentence. The Court finds

   that the need for deterrence and to protect the public weighs

   against release at this time.

         Accordingly, it is

         ORDERED, ADJUDGED, and DECREED:

         Gregorio    Castro’s   pro   se   Motion   for   Compassionate

   Release (Doc. # 158) is DENIED.

         DONE and ORDERED in Chambers, in Tampa, Florida, this

   6th day of October, 2021.




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